Case 5:18-cr-00258-EJD Document 1005-5 Filed 09/07/21 Page 1 of 2

BOIES, SCHILLER & FLEXNER LLP

333 MAIN STREET * ARMONK, NY 10504 * PH. 914.749.8200 * FAX 914.749.8300

June 26, 2015

Via Hand Delivery

Ms. Erika Cheung
926 Mouton Circle
East Palo Alto, California 94303

Dear Ms. Cheung:

This firm represents Theranos, Inc. (“Theranos” or the “Company”). We have reason to
believe that you have disclosed certain of the Company’s trade secrets and other confidential
information without authorization. We also have reason to believe that you have done so in
connection with making false and defamatory statements about the Company for the purpose of
harming its business. You are directed to immediately cease and desist from these activities.
Unless this matter is resolved in accordance with the terms set forth in this letter by 5:00 p.m.
(PDT) on Friday, July 3, 2015, Theranos will consider all appropriate remedies, including filing
suit against you.

As you are aware, during your employment at Theranos, you had access to Theranos
trade secrets and other confidential information. As a condition of your employment, you
executed an At Will Employment, Confidential Information and Invention Assignment
Agreement, dated October 14, 2013, in which you agreed not to disclose without authorization
any Theranos Confidential Information. Under that agreement, Confidential Information
includes: “any non-public information that relates to the actual or anticipated business or
research and development of the Company, technical data, trade secrets or know how”. Indeed,
upon the termination of your employment with Theranos on or about April 16, 2014, you were
specifically reminded and agreed in writing that those confidentiality obligations continued even
after your departure.

We have reason to believe that you have violated your confidentiality obligations in
connection with your efforts to disseminate false and defamatory statements about Theranos for
purposes of harming its business. The Company is prepared to file suit against you to remedy
and prevent further harm. If you wish to avoid litigation, prior to the deadline noted above, you
must:

|. Immediately gather and return to this Firm any and all Theranos confidential
information, in whatever form, that remains in your possession;

EXHIBIT133

Enka Cheung
Partner Investments

Vs. Theranos
WWW BSFLLP.COM

SusnA Sullivan CSR azeorr Cheung-002

PFM-DEPO-00005078 —
Case 5:18-cr-00258-EJD Document 1005-5 Filed 09/07/21 Page 2 of 2

Ms. Erika Cheung
June 26, 2015
Page 2

2, Identify and describe with particularity any and all Theranos confidential
information disclosed by you without authorization or received by you since
your departure from the Company;

3. Identify all persons to whom you have discussed or otherwise disclosed
Theranos confidential information without authorization;

4. Identify all persons from whom you have received Theranos. confidential
information since your departure from the Company;

5. Agree to refrain from further violations of your ongoing confidentiality
obligations to Theranos and from making any further false and defamatory
statements regarding Theranos, its principals, or its business;

6. Submit to an interview by outside counsel for Theranos regarding, among
other things, your actions, your compliance with these directives, the false and
defamatory information disseminated by you, and the steps you must take to
rectify your actions; and

7. Execute an affidavit, under penalty of perjury, certifying your compliance
with items 1-6 above, and additional points to be discussed with Theranos’
attorneys during the in-person meeting described above.

You are also hereby on notice of potential litigation against you in connection with these
matters. Accordingly, Theranos demands that you preserve all documents, tangible things, and
electronically stored information potentially relevant to the issues in this matter, including
electronic files and other data generated by and/or stored on your computers and storage media
(e.g., hard disks, backup tapes, USB or other drives, CDs, DVDs, etc.), or any other electronic
data, such as voice mail. Your failure to comply with this demand can result in severe sanctions
being imposed on you for spoliation of evidence or potential evidence. Be advised that we are
also contacting others whom we have reason to believe have breached their confidentiality
obligations and/or defamed the Company.

A prompt response, either from you or your counsel, should be directed to my colleague,
Meredith Dearbom, at 510-874-1211 or 650-208-2788.

Sincerely Yours,

[ored Prsic

David Boies

WWW.BSFLLP.COM

Cheung-003

PFM-DEPO-00005079 ~
